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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Sherrie Robinson,

                    Plaintiff,                       Case No.: 1:19-cv-03887

       vs.                                           Honorable Edmond E. Chang

DeVille Asset Management LTD,
                                                     STATUS REPORT REGARDING
                    Defendant.                       SERVICE




                           STATUS REPORT REGARDING SERVICE

       Plaintiff Sherrie Robinson, by and through counsel, hereby states as follows:

       On July 22, 2019, the Court ordered that lead counsel for Plaintiff file a report addressing

two concerns of the Court regarding service, namely (1) the fact that a registered agent in Juneau,

Alaska was served even though Defendant’s principal place of business is in Texas; and (2)

summons was sent by certified mail, even though the federal rules do not authorize service in that

manner unless State law at the place of service provides for it. Lead counsel for Plaintiff hereby

addresses those two concerns.

   1. Service on a Registered Agent in Juneau, Alaska

   While Defendant maintains a principal address in Colleyville, Texas, Defendant is

organized as a Limited Partnership under the laws of the State of Alaska, and the registered agent

on file for the company is CT Corporation System, 9360 Glacier Hwy., Ste. 202, Juneau, AK

99801. See Bizapedia profile attached as Exhibit 1. Pursuant to FRCP 4(h)(1)(B), a partnership

may be served by delivering a copy of the summons and complaint to an officer, managing or


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general agent, or any other agent authorized by appointment or by law to receive service of process.

Therefore, delivery of the complaint and summons on the designated registered agent in Juneau,

Alaska would appear to be an appropriate method of service under FRCP 4(h)(1)(B).

   2. Service via Certified Mail

   The Court stated in its July 22, 2019 order that the federal rules do not authorize service by

certified mail unless State law at the place of service provides for it. Here, the place of service

was Alaska, which does in fact provide for service of process via certified mail. The applicable

rule is Alaska R. Civ. Proc. 4(h), which provides that in addition to other permissible methods of

service, process may also be served within the State by registered or certified mail. See Copy of

Alaska R. Civ. Proc. 4, attached as Exhibit 2.

       In light of the foregoing, Plaintiff takes the position that attempting to effectuate service

upon Defendant’s registered agent in Alaska via Certified Mail was appropriate. Lead counsel for

Plaintiff apologizes to the Court for not being present at the July 22, 2019 status hearing, and states

that he will be present, as ordered, for the August 6, 2019 status hearing.

                                                       Respectfully submitted,


                                                       By: /s/ Brian J. Olszewski
                                                       Brian J. Olszewski (#6283673)
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                                         Attorney for Plaintiff,
                                        Sherrie Robinson




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                                  CERTIFICATE OF SERVICE

       I, the undersigned, certify that on July 29, 2019 I filed the foregoing Status Report

Regarding Service through the Court’s CM/ECF system, which will cause electronic notification

of this filing to be sent to all parties who have appeared as of the time of the filing.




                                                       By: /s/ Brian J. Olszewski
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                                                         Counsel for Plaintiff




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